                                                                                                                                                   Schulte Page 1
B7(Official Case
            Form 7)(12/07)
                    10-22570              Doc 13            Filed 07/02/10 Entered 07/02/10 16:27:23                                              Desc Main
                                                             Document     Page 1 of 12


                                                  FORM 7. STATEMENT OF FINANCIAL AFFAIRS

                                        UNITED STATES BANKRUPTCY COURT
                                              Northern District of Illinois, Eastern Division

In Re:                    Shannon Margaret Schulte                                             Case No.                                10-22570
                                      Debtor                                                                                          (if known)

                                                   STATEMENT OF FINANCIAL AFFAIRS
                 This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
         the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
         information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
         filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
         should provide the information requested on this statement concerning all such activities as well as the individual's personal
         affairs. To indicate payments, transfer and the like to minor children, state the child's initials and the name and address of the
         child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
         § 112 and Fed. R. Bankr. P. 1007(m).
                 Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
         must complete Questions 19-25.          If the answer to an applicable question is "None", mark the box labeled "None".
         If additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
         name, case number (if known), and the number of the question.

                                                                                DEFINITIONS

                  "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
         individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
         the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
         of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
         self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose of this form if the debtor
         engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
         employment.

                 "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
         their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
         5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
         of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


None         1. Income from employment or operation of business

             State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
             the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
             beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
             two years immediately preceding this calender year. (A debtor that maintains, or has maintained, financial records on
             the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
             of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                  Amount                                       Source
            2008 0.00
            2009 0.00
            2010 0.00
                                                                                                                                                 Schulte Page 2
       Case  10-22570
        2. Income other thanDoc  13 Filedor07/02/10
                            from employment               Entered 07/02/10 16:27:23
                                            operation of business                                                                              Desc Main
                                        Document        Page 2 of 12
None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
           joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
           must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)
               Amount                                       Source




           3. Payments to creditors

None       Complete
           a.          a. or
              Individual  orjoint
                              b., asdebtor(s)
                                     appropriate,   and c. consumer debts: List all payments on loans, installment purchases
                                              with primarily
              of goods or services, and other debts, aggregating more than $600 to any creditor, [except for a debt on account
              of a domestic support obligation,] made within 90 days immediately preceding the commencement of this case.
              Indcate with an * any payments that were made to the creditor on account of a domestic support obligation or as
              part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling
              agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                 Dates of                                Amount                                Amount
           Nane and Address of Creditor                          Payments                                Paid                                  Still Owing




None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
              within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
              constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*)
              any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
              repayment schedule under a plan by an approved nonprofit budgeting and credit counselig agency. (Married
              debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.

                                                            Dates of Payments/                      Amount Paid or                             Amount
       Name and Address of Creditor                         Transfers                               Value of Transfers                         Still Owing
                                                                                                                                        Schulte Page 3
            Case 10-22570                  Doc 13           Filed 07/02/10 Entered 07/02/10 16:27:23                                  Desc Main
                                                             Document     Page 3 of 12
None            c. All debtors: List all payment made within one year immediately preceding the commencement of this case
                   to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or
                   chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless
                   the spouses are separated and a joint petition is not filed.)


Name and Address of Creditor                                    Date                                        Amount                    Amount
and Relationship to Debtor                                      of Payment                                  Paid                      Still Owing




                4. Suits and administrative proceedings, executions, garnishments and attachments

None            a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                  preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                  information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
                  separated and a joint petition is not filed.)
Caption of Suit                                                                                       Court or Agency                 Status or
and Case Number                                               Nature of Proceeding                    and Location                    Disposition
                                                                                                                                           Schulte Page 4

None
           Case   10-22570
            b. Describe                Doc
                        all property that       13attached,
                                          has been     Filed     07/02/10
                                                            garnished  or seized underEntered       07/02/10
                                                                                       any legal or equitable process16:27:23
                                                                                                                      within one          Desc Main
              year immediately preceding the commencementDocument                 Page
                                                              of this case. (Married  debtors4  of under
                                                                                             filing  12 chapter 12 or chapter
                13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)
Name and Address of Person for Whose                                Date of                                    Description and
Benefit Property was Seized                                         Seizure                                    Value of Property




              5. Repossessions, foreclosures and returns

None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
              of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
              (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                    Date of Repossession,
          Name and Address of                                       Foreclosure Sale,                          Description and Value
          Creditor or Seller                                        Transfer or Return                         of Property
                                                                                                                                              Schulte Page 5
            Case 10-22570
             6. Assignments      Doc 13 Filed 07/02/10 Entered 07/02/10 16:27:23
                            and receiverships                                                                                          Desc Main
                                              Document Page 5 of 12
None            a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
                  commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment
                  by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                  petition is not filed.)
                  Name and Address                                   Date of                                            Terms of Assignment
                  of Assignee                                        Assignment                                         or Settlement




None         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
                immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                must include information concerning property of either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)
Name and Address                                     Name and Location of Court                                                          Description and
of Custodian                                         Case Title & Number                            Date of Order                        Value of Property
                                                                                                                                                     Schulte Page 6
                Case 10-22570
                 7. Gifts                       Doc 13           Filed 07/02/10 Entered 07/02/10 16:27:23                                       Desc Main
                                                                  Document     Page 6 of 12
    None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
                    except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                    and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                    chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                    the spouses are separated and a joint petition is not filed.)
    Name and Address of Person                                  Relationship to                                                                 Description and
    or Organization                                             Debtor, if any                            Date of Gift                          Value of Gift




                    8. Losses

    None           List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
                   of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                   include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                   joint petition is not filed.)
                                                                           Description of Circumstances and, if
    Description and Value                                                  Loss was Covered in Whole or in Part
    of Property                                                            by Insurance, Give Particulars.                                       Date of Loss




                    9. Payments related to debt counseling or bankruptcy

    None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
                    consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
                    within one year immediately preceding the commencement of this case.
    Name and Address                                     Date of Payment, Name of                                   Amount of Money or Description
    of Payee                                             Payor if other than Debtor                                 and Value of Property
Michelotti & Associates, Ltd.                                                                                      1799.00
1200 Jorie Blvd #329
Oak Brook, IL 60523
                                                                                                                                                      Schulte Page 7
            Case 10-22570
             10. Other transfers Doc 13                      Filed 07/02/10 Entered 07/02/10 16:27:23                                          Desc Main
                                                              Document     Page 7 of 12
None            a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
                   the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
                   this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                   whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
Name and Address of Transferree,                                                                                      Describe Property Transferred
Relationship to Debtor                                                    Date                                        and Value Received




None           b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
               case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                         Amount of Money or Description and Value
Name of Trust or Other Device                                           Date(s) of Transfer(s)           of Property or Debtor's Interest in Property




                11. Closed financial accounts

None           List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
               closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
               checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
               held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
               institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
               instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
               separated and a joint petition is not filed.)
                                                                       Type of Account, Last Four
Name and Address                                                       Digits of Account Number,                                                 Amount and Date of
of Institution                                                         and Amount of Final Balance                                               Sale or Closing
                                                                                                                                             Schulte Page 8
            Case 10-22570                   Doc 13           Filed 07/02/10 Entered 07/02/10 16:27:23                                       Desc Main
                12. Safe deposit boxes                        Document     Page 8 of 12
None           List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
               within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
               chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
               the spouses are separated and a joint petition is not filed.
Name and Address of Bank                                 Names and Addresses of those with                                                     Date of Transfer
or Other Depository                                      Access to Box or Depository                Description of Contents                    or Surrender, if any




                13. Setoffs

None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
                the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
                concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                petition is not filed.)
Name and Address of Creditor                                               Date of Setoff                                                    Amount of Setoff




                14. Property held for another person

None            List all property owned by another person that the debtor holds or controls.

Name and Address of Owner                                                  Description and Value of Property                                 Location of Property
                                                                                                                                         Schulte Page 9
          Case 10-22570               Doc 13           Filed 07/02/10 Entered 07/02/10 16:27:23                                         Desc Main
           15. Prior address of debtor                  Document     Page 9 of 12
None       If the debtor has moved within the three years immediately preceding the commencement of this case, list all premises
              which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
              filed, report also any separate address of either spouse.
Address                                                               Name Used                                                          Dates of Occupancy




           16. Spouses and former spouses

None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
           California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
           year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
           any former spouse who resides or resided with the debtor in the community property state.
Name
                                                                                                                                           Schulte Page 10
           Case 10-22570                 Doc 13           Filed 07/02/10 Entered 07/02/10 16:27:23                                       Desc Main
                                                          Document      Page 10 of 12
              17. Environmental information

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
              releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
              other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
              or material.

              "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
              formerly owned or operated by the debtor, including, but not limited to, disposal sites.

              "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
              material, pollutant, or contaminant or similar term under an Environmental Law.

None          a. List the name and address of every site for which the debtor has received notice in writing by a governmental
              unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
              governmental unit, the date of the notice, and, if known, the Environmental Law.
                                                       Name and Address of
Site Name and Address                                  Governmental Unit                           Date of Notice                           Environmental Law




None          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
              of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                       Name and Address of
Site Name and Address                                  Governmental Unit                           Date of Notice                           Environmental Law




None          c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                 respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                 was a party to the proceeding, and the docket number.
 Name and Address of Governmental Unit                             Docket Number                                                         Status or Disposition
                                                                                                                                             Schulte Page 11
            Case 10-22570                  Doc 13            Filed 07/02/10 Entered 07/02/10 16:27:23                                       Desc Main
                                                             Document      Page 11 of 12
               18. Nature, location and name of business

None           a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
                 executive of a corporation, partner in a partnership, sole proprietor, or was a self-employed in a trade, profession, or
                 other activity either full- or part-time within the six-years immediately preceding the commencement of this case,
                 or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                 preceding the commencement of this case.

                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                 the voting or equity securities, within the six years immediately preceding the commencement of this case.

                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                 the voting or equity securities within the six years immediately preceding the commencement of this csae.
Name, Address, Last Four Digits of Soc. Sec. No.                                                                                            Beginning and
Complete EIN or Other Taxpayer I.D. No.                               Nature of Business                                                    Ending Dates




None           b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
                 defined in 11 U.S.C. § 101.
Name                                                                                                                              Address
         Case 10-22570                  Doc 13          Filed 07/02/10 Entered 07/02/10 16:27:23                                        Desc Main
                                                        Document      Page 12 of 12


 [If completed by an individual or individual and spouse.]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
 attachments thereto and that they are true and correct.


                 5/17/10                                                          X    /S/ Shannon Margaret Schulte
                 Date                                                                  Signature of Debtor

                 5/17/10                                                          X
                 Date                                                                  Signature of Joint Debtor




                            ___________________________________________________________________________




 [If completed on behalf of a partnership or corporation]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
 attachments thereto and that they are true and correct to the best of my knowledge, information and belief.




                                                                                  X
                 Date                                                                  Signature of Authorized Individual

                                                                                       ,
                                                                                       Printed Name and Title




                             DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
110(h), and 342(b); (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required under that section; and (4) I will not accept any additional money or other property from
the debtor before the filing fee is paid in full.


 Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                          Social-Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal, responsible
person or partner who signs this document.




     Address

 X
     Signature of Bankruptcy Petition Preparer                                         Date
Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
not an individual:
If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
A bankruptcy petition preparer's failure to comply with the provisions of Title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
